      Case 8:04-cr-00374-JSM-AEP Document 358 Filed 05/01/08 Page 1 of 6 PageID 719
A 0 245B (Rev 06/05]S l w t I - Judp~entin a Crimind Case


                             UNITED STATES DISTRICT COURT
                                                  h4lD DLE DISTRICT OF FLORIDA
                                                         TAMFA DMSIOh



UNITED STATES OF A M E R I C A                                 JUDGMENT LN A CRIMINAL CASE
                                                               CASE NUMBER: 804-cr-374-T-30TBM
                                                               USM NUMBER: 497 13-01 8


GUSTAVO OTERO-BORRERO
                                                               Defatdant's Attmey: Brent Armstrong, cja.

mE DEFENDANT:
Xpleaded guilty to count(s) ONE of the Indictment-
+p l d e d nolo contendere to count(s) which was accepted by &e court-
-was fa& guilty on count@] after a plea of not guilty.
TITLE & SECTION                     NATURE OF OFFENSE                            O M S E ENDED                     COUNT

                                    Conspiracy to Import into the United         September 9,2004                    One
                                    States Five Kilograms or More of
                                    Cocaine


         The defendant is sentenced as providd in pages 2 through 6 of thisjudgment. The sentence is imposed pursuant to the Senrenc ing
R e f m Act of 1984.

- The defendant lras been found not guilty on count(s)
X Count(s) TWO and THREE of the Indictment are dismissed on the motion of the United States.
ITK JWRTHER ORDERED that the defendant must notify the United States Attorney for this district witbin 30 days of any change of
name, residence, or mailing address until all hnes. restitution, costs, and special assessments imposed by this judgment are M y paid.
If ordered to pay restitution, the defendant must no* the court and United States Attorney of any material change in economic
circumstances.


                                                                                 Date of Imposition of Sentence: April 24,2008
                                                                                 Date of Imposition of Re-Sentence: May 1,2008




                                                                                         S S. MOODY, JR!
                                                                                            STATES DISTRICT
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                               -
A 0 245B _(Rev06/05) Sheet 2 lmprisonmart (Judgment in a Criminal Case )
Defendant:          GUSTAVO OTERO-BORRERO                                                                  -
                                                                                                Judgment Page 2 of &
Case No.:           8 :04-cr-374-T-30TBM




         A l t e r considering t h e advisory sentencing guidehes and all of t h e factors identified in T i t l e 18 U.S.C. $4 3553(u)(l)-
(7), the court finds that the sentence imposed is sufficient, b u t not g r e a t e r than necessary, to comply with t h e s t a t u t o q
purposes of sen tencing.


         The defendant is hereby committed to d l c custody of the United States Bureau oFPrisons to be imprisoned f o r a total
term o f ONE HUNDRED and EIGHT (108) MONTHS as to Count One o f the Indictment. T h e defendant shall be g i ~ e n
crecht for time served from his arrest d a t e of October 10,2006.


X T h e court makes h e followingrecommendationsto the Bureau ofPrisons: The defmdant shall be placed at either FCI Miam
(defendant's h t choice)or FCI Coleman (defendant's second choice).


-
X The defendant is remanded to the custody ofthc United     States Marshal
-IIhe deFendent shall surrender to tbe United States Marshal fot this distria
          -at -am.lp.mon ,
          -as n d e d by the United States Marsbaf.
-Tbe dcfcndant shall surrender for &ce of sentence at tbe institutiondesignatedby the Bureau of Prisons.
       -before 2 p.m. on -.
       -as notified by the Unitcd States Marshal.
       -as notified by the Probation orP&al Services Ofiicc.

                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                        to
- at                                                                ,with a certified copy of this judgment.

                                                                                       --


                                                                                United States Marshal

                                                                     BY
                                                                                        Deputy United States Marshal
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                                -
A 0 245 B (Rev. 06/05) Shcet 3 Supervised Relcarc (Judgment in a Criminal Case)

Defendant:         GUSTAVO OTERO-BORRERO                                                              Judgment - Page 3of 6
Case No.:          8:04-cr-374-T-30TBM
                                                         SUPERVISED RELEASE
         Upon release from imprisonment, the defendantshall be on supervised release for a term o f F I V E (5) YEARS a s to Count
One of t h e Indictment.

         The defendant must repon to the probation ofice in the district to which the defendant is released within 72 hours of release h m
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawFully possess a controlled substance.
The defendant shall refrain from any unlawful use o f a conwlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter. as determined by the court.

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.
          If this judgment imposes a fine or restitution it is a conditionof supervised release that the defendant pay in accordancewith the
          Schedule of Payments sheet of this judgment

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the permission of the court or probation offico;

          the defendant shall report to the prohtion offica and shall submit a truthful and complete written report within the first five days of each
          month:

          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

          the defendant shall support his or her dependents and meet other family responsibilities;

          the defendant shall work regularly at a lawhl occupation, unlcss cxcuscd by ~ l i cprobat~on01-liccr i i w scliaoli~~g,
                                                                                                                               [raining. or orhcr
          acceptable reasons;

          the defendant shall notify the probation officer at least ten days prior to my change in residence or employment;

          the defendant shall refrain k r n excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any parnphmalia related to any controlled substmces, except as prescribed by a physician:

           the d e f m h t shall not frequent places where controlled substancesare illegally sold, used. distributed, or administered,

           the defmdant shdl not associate with any persons engaged in criminal activity and shall not associate wilh any person convicted of a
           felony, unless grantcd permission to do so by the probation officer.

           the defendant shall permit a prohtion officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           conhaband observed in plain vicw of the probation offica:

           the defendant shall notify thc probation ofica within seventytwo hours of being arrested or questioned by a law enforcement officer,

           the defendant shall not cntcr into any a g m e n t to act as an informer or a special agent of a law enforcement agency without the
           permission o f the court; and

           as directed by the probation officer. thedefendant shall notify third parties ofrisks that may be masionrul by the defendant's criminal record
           or personal history or chmcteristics and shall p m i t the pmbation officer to make such notifications and to confirm the defendant's
           compliance with such notification requirement.
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A 0 2458 (Rev. 06/05) Shea 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        GUSTAVO OTERO-BORRERO                                                      Judgment - Page 4of 6
Case No.:         8:04-cr-374-T-30TBM
                                        SPECIAL CONDITIONS OF SUPERVISION

         TI1c defendant shall also comply with the following additional conditions of supervised release:

x        Tbe defendant shall participate in a subslance abuse program (outpatient and.or inpatient) and follow te probation officer's
         instructions regarding the implementation of this court ditective. Further. the defendant shall be required to contribute to the
         costs of services for such treatment not to exceed an amount determined reasonable by the Probation Officer'sSliding Scale for
         Substance Abuse Treatment Services. During and upon completion or h s program, the defendant is directed to submit to
         random drug testing.
S
-        Should the defendant be deported, Wshe shallnot be &owed to reenter the Un~tedStates without the express permission of
         the appropriate governmental authority.
X
-        The defendant Ml cooperate in the collection of DNA as directed by the probat ion ofliccr

S
-        The mandatory drug testing provisions shall apply pllrsuant to the Violent Crime Control Act. The Court orders random drug
         testing not to exceed I04 tests per year-
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:         GUSTAVO 0-TERO-BORRERO                                                     Jud,ment - Page 5 of 6
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                                           CRIMINAL MONETARY PENALTIES

         The dcrendan~must pay the total criminal monetary penalties under the schedule of payments an Sheet 6.
                             Assessment                           Fine                        Total Restitution

         Totals:                                                  Waived


          The determination of restitution is defmed until -.
          be en iered a Aer such d e l m i n a t i o n .
          -nlcJ c k n d a n ~must make resrirurinn ( ~ n c i u d i nccwnluriit!'
                                                                     ~           restimtion) to the following payees In [he amounr listed
          tWl0!\

          If the defcndanl makes a partial pa>msnt. each p'i!cc k h ; l l l receive an approximately proportioned paymenl, unless
          specified othenvlse in the pnonty ordcr or prrcrnraze pn!mmt colu~nnbelow. However, pursuanr to 18 U.S.C. 9
          3664(i), all non-federal vicrims must be p a ~ dl w ! r ~ th?
                                                                    r ~ I n i r d Srates.


Name of Pavee                                  Total Loss"                  Restitution Ordered                  Prioritv o r Percentage




                             Totals:

          Restirut~onarnounr ordered pursuanr to pica agreement S




          The court determined h a t the defendant does no1 have Lhe abdity 10pay imerzst and it is ordered that:
                   d ~ interest
                       e        requirement is waived for the      fie         resritution.
                   the in~ercslrequirzment for the _ fine            restitution is modified as follows:


* Findings for the total amount of losses are required under Chapkrs 1O9.% 1 10, 11OA,and 1 13A of Title 18 for the offcnses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 2453 (Rev 06/05) Sheet 6 - Schedulc o f Payments (Jud,gnsni in a Crimnal Cnsc)

Defendant:         GUSTAVO O T E R O - B O R E R 0                                               Judbment - Page 6of 6
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                                                    SCHEDULE OF PAYMENTS



Having assessed the defcndant's ability to pay, payment of the total criminal monelary penalties are due as follows:


          X        Lump sum payment of S 1 00.00 due immediately, balance due
                              -not l a m than                  , Or

                              -in accordance - C, - D, - E or - F below; or
                   Payment to begn immediately (may be combined with                       C,      D, or       F below); or
                   Payment in equal                        (5 g   . n d l > . inontldy, quarlerly) u~stallmentsof S              over a period
                   of -(e g., nsr-               or !;m).         c ~ u l i ~ ~ i c t ~ i ~ e days (e g , 30 or 60 days) after the date of t h s
                   judgment: or
                   Payment in equal                   i e.g.. \r.ssl;l>,.
                                                                        ~ l w m h l yquarterly)
                                                                                            ,    installments of S           over a period of
                               , ( e . ~ , .~n(out!ls
                                             .      or !.cars) ti7 C ~ ~ I I ~ I ~ I S I I C ‘ S      (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supen.~sion:or.
                   Payment during 111ctcnn u l h u p c n i s d it.1ra.r ir 111 commence withm        (e-g.,30 or 60 days)
                   after release from iinpn~aluncnl I h c LLWI \I 111 set the payment plan based on an assessment of the
                   defendant's abilit) tu p i ? ,,I rh,u L ~ I I I C c~
                                                                     .

                   Spec~al~nstructionsregarding the payment of c n m a l monetary penalties-




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. Ail criminal monetary penalties, excepl those payments made though the Federal
Bureau of Prisons' lnma te Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penallies imposed
          Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


         The defendant shall pay Lhe cost of prosecution.
         The defendant shall pay [he following court cost(s):
         The defendant shall forleit the defcndant's interest in the following properly to the Uiuted States:
        The Court orders that the deferldarlt i o i~ ~ l o~ ~ hr Lc n i t d 5iatcs ~nlmediatelyand volunianly any and all assets and
properly, or portions thereof, subject Ic) Iorl;.lr UI c. !11ch are In rhr pni\c\5lon or control of thc defendant or the defendant's
nomlnees
                                                                                                  , restitution interes~,(4) fine principal, ( 5 )
Payments shall bc applied in the following order: (1 rl.ix.imc.iit. ( 2 )resribrion p ~ c i p a l (3)
fine inrerest, (6) communiry resiirution: (7) penalhes. and ( S I C,J,~. including cost of prosecution and court cosrs.
